                             Case No. 1:20-cr-00305-DDD                    Document 408-1                  filed 02/02/24      USDC Colorado   pg
                                                                                  1 of 62



CASE CAPTION: United States v. Tew, et al.

CASE NO.: 20-cr-305-DDD

EXHIBIT LIST OF: United States of America, Plaintiff
                         (Name and Party Designation)



 Exhibit           Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                      Only
                                                       Brief Description


    1                                          INTENTIONALLY LEFT BLANK


                                     Signature Bank Statement re Account x5529 National Air
    2
                                     Cargo Holdings, statement period 08.01.2018-08.31.2018

                                     Signature Bank Statement re Account x5529 National Air
    3
                                     Cargo Holdings, statement period 10.01.2018-10.31.2018


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                                     Signature Bank Statement re Account x5529 National Air
    5
                                     Cargo Holdings, statement period 11.01.2018-11.30.2018


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                                     Signature Bank Statement re Account x5529 National Air
    7
                                     Cargo Holdings, statement period 12.01.2018-12.31.2018

                                      Signature Bank ACH Transaction re $15,250 to [PM],
    8
                                                       dated 02.07.2019

                                      Signature Bank ACH Transaction re $15,250 to [PM],
    9
                                                       dated 02.19.2019

                                      Signature Bank ACH Transaction re $38,000 to [PM],
    10
                                                       dated 03.28.2019




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                    Case No. 1:20-cr-00305-DDD                    Document 408-1                filed 02/02/24      USDC Colorado   pg
                                                                         2 of 62


Exhibit   Witness                                                                      Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                           Only
                                              Brief Description

                             Signature Bank ACH Transaction re $11,250 to [PM],
   11
                                              dated 04.03.2019

                             Signature Bank ACH Transaction re $45,000 to Global
   12
                                       Fuel Logistics, dated 07.23.2019

                              Signature Bank ACH Transaction re $31,500 to SHI
   13
                                           LLC, dated 08.06.2019

                             Signature Bank ACH Transaction re $9,500 to Global
   14
                                       Fuel Logistics, dated 08.19.2019

                              Signature Bank ACH Transaction re $28,000 to SHI
   15
                                           LLC, dated 08.21.2019

                             Signature Bank ACH Transaction re $45,000 to Global
   16
                                       Fuel Logistics, dated 09.03.2019

                              Signature Bank ACH Transaction re $18,000 to SHI
   17
                                           LLC, dated 09.09.2019

                              Signature Bank ACH Transaction re $33,500 to SHI
   18
                                           LLC, dated 09.17.2019

                              Signature Bank ACH Transaction re $52,750 to SHI
   19
                                           LLC, dated 09.25.2019

                             Signature Bank ACH Transaction re $75,000 to Global
   20
                                       Fuel Logistics, dated 10.16.2019

                             Signature Bank ACH Transaction re $43,000 to Global
   21
                                       Fuel Logistics, dated 10.24.2019

                              Signature Bank ACH Transaction re $49,750 to SHI
   22
                                           LLC, dated 10.31.2019

                              Signature Bank ACH Transaction re $40,500 to SHI
   23
                                           LLC, dated 11.07.2019

                             Signature Bank ACH Transaction re $43,250 to Global
   24
                                       Fuel Logistics, dated 11.25.2019




                                                                                   2
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                filed 02/02/24      USDC Colorado   pg
                                                                         3 of 62


Exhibit   Witness                                                                      Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                           Only
                                              Brief Description

                             Signature Bank ACH Transaction re $9,550 to Global
   25
                                       Fuel Logistics, dated 12.02.2019

                             Signature Bank ACH Transaction re $24,500 to Global
   26
                                       Fuel Logistics, dated 12.11.2019

                             Signature Bank ACH Transaction re $15,200 to Global
   27
                                       Fuel Logistics, dated 12.23.2019

                             Signature Bank ACH Transaction re $33,000 to Global
   28
                                       Fuel Logistics, dated 02.11.2020

                             Signature Bank ACH Transaction re $95,000 to Global
   29
                                       Fuel Logistics, dated 02.19.2020

                             Signature Bank ACH Transaction re $36,555 to Global
   30
                                       Fuel Logistics, dated 03.02.2020

                             Signature Bank ACH Transaction re $35,000 to Global
   31
                                       Fuel Logistics, dated 03.09.2020

                            Signature Bank ACH Transaction re $22,5000 to Global
   32
                                       Fuel Logistics, dated 03.19.2020

                             Signature Bank ACH Transaction re $73,460 to Global
   33
                                       Fuel Logistics, dated 03.31.2020

                             Signature Bank ACH Transaction re $36,925 to Global
   34
                                       Fuel Logistics, dated 04.06.2020

                             Signature Bank ACH Transaction re $68,255 to Global
   35
                                       Fuel Logistics, dated 04.15.2020

                             Signature Bank ACH Transaction re $46,850 to Global
   36
                                       Fuel Logistics, dated 04.27.2020

                             Signature Bank ACH Transaction re $85,325 to Global
   37
                                       Fuel Logistics, dated 05.05.2020

                             Signature Bank ACH Transaction re $82,422 to Global
   38
                                       Fuel Logistics, dated 05.12.2020




                                                                                   3
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                 filed 02/02/24      USDC Colorado   pg
                                                                         4 of 62


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description

                             Signature Bank ACH Transaction re $78,565 to Global
   39
                                       Fuel Logistics, dated 05.20.2020

                             Signature Bank ACH Transaction re $95,000 to Global
   40
                                       Fuel Logistics, dated 07.02.2020


   41                                INTENTIONALLY LEFT BLANK


                            Navy Federal Credit Union Transaction Log Summary re
   42
                              Acct x8486 $15,000 Withdrawal, dated 06.04.2019

                            Navy Federal Credit Union Transaction Log Summary re
   43
                              Acct x8486 $15,000 Withdrawal, dated 06.11.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x6934
   44
                                    $22,000 Withdrawal, dated 08.28.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x2064
   45
                                    $25,000 Withdrawal, dated 08.29.2019

                             Navy Federal Credit Union Statement re Access x3844
   46
                             Michael Tew, statement period 08.17.2019-09.16.2019

                              Wells Fargo Bank Wire Transaction Report re Acct
   47
                                       x6934 $15,000, dated 09.18.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x6934
   48
                                    $20,000 Withdrawal, dated 09.26.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x6934
   49
                                    $20,000 Withdrawal, dated 09.27.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x6934
   50
                                    $20,000 Withdrawal, dated 10.01.2019

                               Wells Fargo Bank Withdrawal Slip re Acct x6934
   51
                                    $12,000 Withdrawal, dated 10.02.2019

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
   52
                                           LLC, dated 11.30.2019




                                                                                    4
                    Case No. 1:20-cr-00305-DDD                   Document 408-1               filed 02/02/24      USDC Colorado   pg
                                                                        5 of 62


Exhibit   Witness                                                                    Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                         Only
                                             Brief Description

                              Wells Fargo Bank Withdrawal Slip re Acct x2064
   53
                                   $20,000 Withdrawal, dated 02.20.2020

                              Wells Fargo Bank Withdrawal Slip re Acct x2064
   54
                                   $15,000 Withdrawal, dated 02.21.2020

                              Wells Fargo Bank Withdrawal Slip re Acct x2064
   55
                                   $20,000 Withdrawal, dated 02.27.2020

                              Wells Fargo Bank Withdrawal Slip re Acct x2064
   56
                                   $20,000 Withdrawal, dated 03.03.2020


57-100                               INTENTIONALLY LEFT BLANK

  101
                               2016 Gross Income Summary for Michael Tew

  102
                               2017 Gross Income Summary for Michael Tew

  103
                               2018 Gross Income Summary for Michael Tew

  104
                               2019 Gross Income Summary for Michael Tew

  105
                              Internal Revenue Service 2019 Account Transcript

  106
                              2016 Gross Income Summary for Sand Hill LLC

  107
                              2017 Gross Income Summary for Sand Hill LLC

  108
                              2018 Gross Income Summary for Sand Hill LLC

  109
                              2019 Gross Income Summary for Sand Hill LLC

  110
                              Internal Revenue Service 2016 Account Transcript




                                                                                 5
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                 filed 02/02/24      USDC Colorado   pg
                                                                         6 of 62


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description

  111
                               Internal Revenue Service 2017 Account Transcript

  112
                               Internal Revenue Service 2018 Account Transcript

 113 -
  200                                 INTENTIONALLY LEFT BLANK


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  201
                             Guaranty Bank and Trust Statement re Account x7867
  202                                 Michael Tew, statement 08.31.2018

                               Regions Bank Statement re Account x4514 [MM],
  203                              statement period 10.12.2018-11.08.2018


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  204
                               Regions Bank Statement re Account x4514 [MM],
  205                              statement period 11.09.2018-12.10.2018


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  206
                             ANB Bank Statement re Account x3099 [MM], dated
  207                                            12.18.2018

                             Navy Federal Credit Union Statement re Access x3843
  208                       Kimberley Tew, statement period 01.17.2019-02.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  209                       Kimberley Tew, statement period 02.17.2019-03.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  210                       Kimberley Tew, statement period 03.17.2019-04.16.2019


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  211




                                                                                    6
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                 filed 02/02/24      USDC Colorado   pg
                                                                         7 of 62


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description

                             Navy Federal Credit Union Statement re Access x3844
  212                        Michael Tew, statement period 07.17.2019-08.16.2019

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  213                                      LLC, dated 08.31.2019


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  214

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  216
                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  217                                      LLC, dated 09.30.2019


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  219
                             Wells Fargo Bank Statement re Account x2064 Global
  220                                  Fuel Logistics, dated 10.31.2019


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  223
                             Wells Fargo Bank Statement re Account x2064 Global
  224                                  Fuel Logistics, dated 11.30.2019

                             Navy Federal Credit Union Statement re Access x3844
  225                        Michael Tew, statement period 11.17.2019-12.16.2019


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  226



                                                                                    7
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                  filed 02/02/24      USDC Colorado   pg
                                                                          8 of 62


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                               Brief Description

                             Navy Federal Credit Union Statement re Access x3844
  227                        Michael Tew, statement period 12.17.2019-01.16.2020

                             Navy Federal Credit Union Statement re Access x3844
  228                        Michael Tew, statement period 01.17.2020-02.16.2020

                             Wells Fargo Bank Statement re Account x2064 Global
  229                                  Fuel Logistics, dated 02.29.2020

                             Wells Fargo Bank Statement re Account x2064 Global
  230                                  Fuel Logistics, dated 03.31.2020

                             Navy Federal Credit Union Statement re Access x3844
  231                        Michael Tew, statement period 02.17.2020-03.16.2020

                             Navy Federal Credit Union Statement re Access x3844
  232                        Michael Tew, statement period 03.17.2020-04.16.2020


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  235
                             Navy Federal Credit Union Statement re Access x3844
  236                        Michael Tew, statement period 04.17.2020-05.16.2020


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  238
                             Navy Federal Credit Union Statement re Access x3844
  239                        Michael Tew, statement period 05.17.2020-06.16.2020

                            Navy Federal Credit Union Transaction Details re Access
                            x1390, Account x3094 Global Fuel Logistics, transaction
  240                                    period 07.20.2020-07.08.2020




                                                                                      8
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                 filed 02/02/24      USDC Colorado   pg
                                                                         9 of 62


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description


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  241
                             Navy Federal Credit Union Statement re Access x3843
  242                       Kimberley Tew, statement period 05.17.2019-06.16.2019


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  244
                             Wells Fargo Bank Statement re Account x2064 Global
  245                                  Fuel Logistics, dated 08.31.2019

                             Navy Federal Credit Union Statement re Access x3843
  246                       Kimberley Tew, statement period 08.17.2019-09.16.2019


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  249
                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  250                                      LLC, dated 10.31.2019

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  300

                              ANB Bank Signature Card re Account x3099 [MM]
  301
                              Guaranty Bank and Trust Signature Card re Account
  302                                        x7867 Michael Tew

                             Navy Federal Credit Union Application re Kimberley
  303                                       Tew and Michael Tew

                             Navy Federal Credit Union Application re Global Fuel
  304                                    Logistics, dated 06.08.2020



                                                                                    9
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                  filed 02/02/24      USDC Colorado   pg
                                                                        10 of 62


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description


                            Regions Bank Signature Cards re Account x0514 [MM]
  305
                            Wells Fargo Bank Signature Card re Account x6934 Sand
  306                                          Hill LLC, LLC

                              Wells Fargo Bank Signature Card re Account x2064
  307                                       Global Fuel Logistics

                             Signature Bank Signature Card re Accounts x5545 and
  308                                x6150 National Air Cargo Group, Inc

                               Signature Bank Signature Card re Accounts x5529,
  309                       x6363, x6355, and x6134 National Air Cargo Group, Inc

                             Guaranty Bank and Trust Statement re Account x7867
  310                                   Michael Tew, dated 08.31.2018

                            BBVA Compass Signature Card re Account x0987 [5530
  311                                             JD] LLC

                            Access National Bank Statement re Account x5965 [PM]
  312                            Inc., statement period 12.01.2018-12.31.2018


                                   Simple Signature Card for Kimberley Tew
  313
                             Navy Federal Credit Union Statement re Access x3843
  314                       Kimberley Tew, statement period 07.17.2019-08.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  315                       Kimberley Tew, statement period 09.17.2019-10.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  316                       Kimberley Tew, statement period 10.17.2019-11.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  317                       Kimberley Tew, statement period 11.17.2019-12.16.2019

                             Navy Federal Credit Union Statement re Access x3843
  318                       Kimberley Tew, statement period 12.17.2019-01.16.2020




                                                                                    10
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                  filed 02/02/24      USDC Colorado   pg
                                                                        11 of 62


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description

                             Navy Federal Credit Union Statement re Access x3843
  319                       Kimberley Tew, statement period 01.17.2020-02.16.2020

                             Navy Federal Credit Union Statement re Access x3843
  320                       Kimberley Tew, statement period 02.17.2020-03.16.2020

                             Navy Federal Credit Union Statement re Access x3843
  321                       Kimberley Tew, statement period 03.17.2020-04.16.2020

                             Navy Federal Credit Union Statement re Access x3843
  322                       Kimberley Tew, statement period 04.17.2020-05.16.2020

                             Navy Federal Credit Union Statement re Access x3843
  323                       Kimberley Tew, statement period 05.17.2020-06.16.2020

                             Navy Federal Credit Union Statement re Access x3844
  324                        Michael Tew, statement period 01.08.2019-01.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  325                        Michael Tew, statement period 01.17.2019-02.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  326                        Michael Tew, statement period 02.17.2019-03.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  327                        Michael Tew, statement period 03.17.2019-04.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  328                        Michael Tew, statement period 04.17.2019-05.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  329                        Michael Tew, statement period 05.17.2019-06.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  330                        Michael Tew, statement period 06.17.2019-07.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  331                        Michael Tew, statement period 09.17.2019-10.16.2019

                             Navy Federal Credit Union Statement re Access x3844
  332                        Michael Tew, statement period 10.17.2019-11.16.2019




                                                                                    11
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                  filed 02/02/24      USDC Colorado   pg
                                                                        12 of 62


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description

                             Navy Federal Credit Union Statement re Access x3844
  333                        Michael Tew, statement period 11.17.2019-12.16.2019

                             Wells Fargo Bank Statement re Account x2064 Global
  334                                  Fuel Logistics, dated 09.30.2019

                              American Express Corporate Card Authorization re
                               Account x91009 National Air Cargo, Cardmember
  335                                           Michael Tew

                             Wells Fargo Bank Statement re Account x2064 Global
  336                                  Fuel Logistics, dated 12.31.2019

                             Wells Fargo Bank Statement re Account x2064 Global
  337                                  Fuel Logistics, dated 01.31.2020

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  338                                      closing date 06.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  339                                      closing date 07.16.2018

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  340                                      LLC, dated 12.31.2019

                              BBVA Compass Statement re Account x0987 5530
                                Jassamine Development LLC, statement period
  341                                      11.01.2018-11.30.2018

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  342                                      LLC, dated 05.31.2019

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  343                                      LLC, dated 01.31.2020

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  344                                      LLC, dated 02.29.2020




                                                                                    12
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                    filed 02/02/24      USDC Colorado   pg
                                                                        13 of 62


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                              Brief Description

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  345                                       LLC, dated 03.31.2020

                             Navy Federal Credit Union Statement re Access x1390
                            Global Fuel Logistics Inc, statement period 06.08.2020-
  346                                            06.30.2020

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  347                                      closing date 08.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  348                                      closing date 09.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  349                                      closing date 10.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  350                                      closing date 11.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  351                                      closing date 12.16.2018

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  352                                      closing date 01.16.2019

                            American Express Corporate Card Statement re Account
                            x91009 National Air Cargo, Cardmember Michael Tew,
  353                                      closing date 02.16.2019

                            Access National Bank Signature Card re Account x5965
  354                                               [PM]

                             Signature Bank ACH Transaction re $25,000 to Global
  355                                  Fuel Logistics, dated 10.23.2019




                                                                                      13
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                  filed 02/02/24      USDC Colorado   pg
                                                                        14 of 62


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description

                             Signature Bank ACH Transaction re $21,250 to [PM]
  356                                       Inc., dated 12.10.2018

                             Signature Bank ACH Transaction re $15,000 to [5530
  357                                    JD] LLC, dated 08.22.2018

                             Signature Bank ACH Transaction re $15,000 to [5530
  358                                    JD] LLC, dated 08.23.2018

                             Signature Bank ACH Transaction re $15,000 to [5530
  359                                    JD] LLC, dated 09.10.2018

                             Signature Bank ACH Transaction re $15,000 to [5530
  360                                    JD] LLC, dated 09.18.2018

                             Signature Bank ACH Transaction re $15,000 to [5530
  361                                    JD] LLC, dated 09.28.2018

                             Signature Bank ACH Transaction re $30,000 to [MM],
  362                                         dated 12.03.2018

                            Access National Bank Statement re Account x5965 [PM]
  363                            Inc., statement period 03.01.2019-03.31.2019

                             ANB Bank Statement re Account x3099 [MM], dated
  364                                            01.04.2019

                             Signature Bank ACH Transaction re $21,000 to [PM]
  365                                       Inc., dated 01.23.2019

                            Signature Bank ACH Transaction re $15,312.50 to [PM]
  366                                       Inc., dated 01.07.2019

                             Signature Bank ACH Transaction re $23,350 to [PM]
  367                                       Inc., dated 01.10.2019

                             Navy Federal Credit Union Statement re Access x3843
  368                       Kimberley Tew, statement period 01.07.2019-01.16.2019

                             Signature Bank ACH Transaction re $28,000 to [PM]
  369                                       Inc., dated 01.18.2019




                                                                                    14
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                  filed 02/02/24      USDC Colorado   pg
                                                                         15 of 62


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                               Brief Description

                             Signature Bank ACH Transaction re $31,500 to [PM]
  370                                       Inc., dated 03.14.2019

                             Signature Bank ACH Transaction re $37,800 to [PM]
  371                                       Inc., dated 03.04.2019

                             Signature Bank ACH Transaction re $20,250 to [PM]
  372                                       Inc., dated 03.19.2019

                             Signature Bank ACH Transactions re: $37,500 to [PM]
                              Inc., dated 04.08.2019; $18,750 to [PM] Inc., dated
  373                       04.11.2019; and $18,750 to [PM] Inc., dated 04.15.2019

                             Signature Bank ACH Transaction re $18,750 to [PM]
  374                                       Inc., dated 04.17.2019

                             Signature Bank ACH Transactions re: $18,750 to [PM]
                              Inc., dated 04.22.2019; $18,750 to [PM] Inc., dated
                              04.24.2019; $38,640 to [PM], dated 04.29.2019; and
  375                                 $19,890 to [PM], dated 05.07.2019

                            Signature Bank ACH Transactions re: $49,750 to [PM],
                               dated 05.07.2019; and $40,000 to [PM] Inc., dated
  376                                             05.10.2019

                            Signature Bank ACH Transactions re: $19,900 to [PM],
                             dated 05.15.2019; $23,785 to [PM], dated 05.21.2019;
                              $9,950 to [PM], dated 05.23.2019; $11,150 to [PM],
                               dated 05.28.2019; and $10,100 to [PM] Inc., dated
  377                                             05.29.2019

                             Navy Federal Credit Union Statement re Access x3843
  378                       Kimberley Tew, statement period 04.17.2019-05.16.2019

                            Signature Bank ACH Transactions re: $53,500 to [PM],
                             dated 06.03.2019; $28,000 to [PM], dated 06.10.2019;
  379                                and $9,500 to [PM], dated 06.13.2019




                                                                                     15
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                    filed 02/02/24      USDC Colorado   pg
                                                                         16 of 62


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                Only
                                               Brief Description

                             Signature Bank ACH Transactions re: $50,000 to [PM]
                                 Inc., dated 06.20.2019; $15,000 to [PM], dated
                               06.25.2019; and $30,000 to Sand Hill LLC, dated
  380                                             06.26.2019

                             Navy Federal Credit Union Statement re Access x3843
  381                       Kimberley Tew, statement period 06.17.2019-07.16.2019

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  382                                       LLC, dated 06.30.2019

                            Signature Bank ACH Transactions re: $45,000 to Global
                             Fuel Logistics, dated 07.30.2019; $47,000 to SHI LLC,
                               dated 08.01.2019; and $30,000 to SHI LLC, dated
  383                                             08.05.2019

                             Signature Bank ACH Transactions re: $9,200 to Sand
                            Hill LLC, dated 06.28.2019; $13,000 to SHI LLC, dated
                            07.09.2019; $27,475 to SHI LLC, dated 07.11.2019; and
  384                               $10,000 to SHI LLC, dated 07.19.2019

                            Wells Fargo Bank Statement re Account x6934 Sand Hill
  385                                       LLC, dated 07.31.2019

                             Signature Bank ACH Transaction re $12,900 to Global
  386                                   Fuel Logistics, dated 01.07.2020

                            Signature Bank ACH Transactions re: $15,500 to Global
                            Fuel Logistics, dated 01.10.2020; $19,500 to Global Fuel
                               Logistics, dated 01.17.2020; $9,800 to Global Fuel
                              Logisitics, dated 01.22.2020; $13,500 to Global Fuel
                              Logistics, dated 01.23.2020; $36,500 to Global Fuel
                             Logistics, dated 01.27.2020; and $7,200 to Global Fuel
  387                                     Logistics, dated 01.30.2020

                             Signature Bank ACH Transaction re $13,000 to Global
  388                                   Fuel Logistics, dated 08.09.2019

                             Signature Bank ACH Transaction re $24,700 to Global
  389                                   Fuel Logistics, dated 03.05.2020




                                                                                       16
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                    filed 02/02/24      USDC Colorado   pg
                                                                         17 of 62


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                Only
                                               Brief Description

                            Signature Bank ACH Transactions re: $97,545 to Global
                            Fuel Logistics, dated 06.22.2020; $71,550 to Global Fuel
                            Logistics, dated 06.24.2020; and $105,000 to Global Fuel
  390                                     Logisitics, dated 06.29.2020

                             Signature Bank ACH Transaction re $83,526 to Global
  391                                   Fuel Logistics, dated 06.02.2020

                            Signature Bank ACH Transactions re: $45,220 to Global
                            Fuel Logistics, dated 06.04.2020; $93,135 to Global Fuel
                            Logistics, dated 06.09.2020; and $93,635 to Global Fuel
  392                                     Logisitics, dated 06.17.2020

                             Navy Federal Credit Union Statement re Access x1390
                            Global Fuel Logistics Inc, statement period 06.08.2010-
  393                                             06.30.2020

                            Navy Federal Credit Union Check re Acct x3494 $500.00
  394                                  to Sand Hill LLC, dated 10.15.19

                              Navy Federal Credit Union Surveillance Photo, dated
  395                                             04.14.2020

                              Navy Federal Credit Union Surveillance Photo, dated
  396                                             04.03.2020

                              Navy Federal Credit Union Surveillance Photo, dated
  397                                             02.04.2020

                              Navy Federal Credit Union Surveillance Photo, dated
  398                                             01.13.2020

                              Navy Federal Credit Union Surveillance Photo, dated
  399                                    06.11.2020 08:14:04.950 PM

                              Navy Federal Credit Union Surveillance Photo, dated
  400                                    06.11.2020 07:53:41.888 PM

                              Navy Federal Credit Union Surveillance Photo, dated
  401                                             06.26.2020




                                                                                       17
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                 filed 02/02/24      USDC Colorado   pg
                                                                        18 of 62


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description

                             Navy Federal Credit Union Surveillance Photo, dated
  402                                            06.08.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  403                                   03.20.2020 02:19:42.572 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  404                                   03.20.2020 09:23:58.357 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  405                                            03.06.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  406                                            05.12.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  407                                            05.04.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  408                                   04.01.2020 04:02:07.321 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  409                                   04.01.2020 04:05:40.320 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  410                                            02.12.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  411                                            02.25.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  412                                            01.23.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  413                                            01.29.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  414                                            06.11.2019

                             Navy Federal Credit Union Surveillance Photo, dated
  415                                   06.11.2020 07:59:59.914 PM




                                                                                   18
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                 filed 02/02/24      USDC Colorado   pg
                                                                        19 of 62


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description

                             Navy Federal Credit Union Surveillance Photo, dated
  416                                   06.11.2020 07:53:41.888 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  417                                            06.30.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  418                                            06.25.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  419                                   06.09.2020 05:16:56.734 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  420                                   06.09.2020 05:17:57.737 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  421                                            03.11.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  422                                   03.18.2020 11:58:06.124 AM

                             Navy Federal Credit Union Surveillance Photo, dated
  423                                   03.18.2020 05:08:46.082 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  424                                   05.12.2020 12:12:35.352 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  425                                   05.12.2020 06:36:34.932 PM

                             Navy Federal Credit Union Surveillance Photo, dated
  426                                            03.27.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  427                                            06.11.2019

                             Signature Bank ACH Transaction re: $13,000 to Sand
  428                                    Hill LLC, dated 08.09.2019

                             Signature Bank ACH Transaction re: $35,000 to Sand
  429                                    Hill LLC, dated 08.14.2019




                                                                                   19
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                  filed 02/02/24      USDC Colorado   pg
                                                                        20 of 62


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description

                            Signature Bank ACH Transaction re: $15,000 to Global
  430                                 Fuel Logistics, dated 08.15.2019

                             Signature Bank ACH Transaction re: $27,000 to Sand
  431                                    Hill LLC, dated 08.22.2019

                             Signature Bank ACH Transaction re: $45,000 to Sand
  432                                    Hill LLC, dated 08.26.2019

                            Signature Bank Wire Transaction re: $45,000 to Global
  433                                 Fuel Logistics, dated 08.29.2019

                            Signature Bank ACH Transaction re: $13,000 to Global
  434                                 Fuel Logistics, dated 02.03.2020

                            Signature Bank ACH Transaction re: $23,200 to Global
  435                                 Fuel Logistics, dated 02.06.2020

                            Signature Bank ACH Transaction re: $32,500 to Global
  436                                 Fuel Logistics, dated 02.13.2020

                            Signature Bank ACH Transaction re: $55,000 to Global
  437                                 Fuel Logistics, dated 02.18.2020

                            Signature Bank ACH Transaction re: $40,000 to Global
  438                                 Fuel Logistics, dated 02.26.2020

                            Signature Bank ACH Transaction re: $74,955 to Global
  439                                 Fuel Logistics, dated 03.11.2020

                            Signature Bank ACH Transaction re: $17,200 to Global
  440                                 Fuel Logistics, dated 03.17.2020

                            Signature Bank ACH Transaction re: $32,245 to Global
  441                                 Fuel Logistics, dated 03.24.2020

                            Signature Bank ACH Transaction re: $32,300 to Global
  442                                 Fuel Logistics, dated 03.26.2020

                            Signature Bank ACH Transaction re: $41,225 to Global
  443                                 Fuel Logistics, dated 04.02.2020




                                                                                    20
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                        21 of 62


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description

                            Signature Bank ACH Transaction re: $37,353 to Global
  444                                  Fuel Logistics, dated 04.08.2020

                            Signature Bank ACH Transaction re: $31,355 to Global
  445                                  Fuel Logistics, dated 04.13.2020

                            Signature Bank ACH Transaction re: $56,530 to Global
  446                                  Fuel Logistics, dated 04.21.2020

                            Signature Bank ACH Transaction re: $36,240 to Global
  447                                  Fuel Logistics, dated 04.29.2020

                            Signature Bank ACH Transaction re: $77,460 to Global
  448                                  Fuel Logistics, dated 05.18.2020

                            Signature Bank ACH Transaction re: $85,500 to Global
  449                                  Fuel Logistics, dated 05.27.2020

                            Signature Bank ACH Transaction re $20,250.00 to [PM]
  450                                       Inc., dated 03.18.2019

                             Signature Bank ACH Transaction re $60,000 to Global
  451                                  Fuel Logistics, dated 09.10.2019

                            Signature Bank ACH Transaction re $51,500 to Sand Hill
  452                                       LLC, dated 09.12.2019

                             Signature Bank ACH Transaction re $11,950 to Global
  453                                  Fuel Logistics, dated 09.16.2019

                            Signature Bank ACH Transaction re $41,500 to Sand Hill
  454                                       LLC, dated 09.19.2019

                            Signature Bank ACH Transaction re $60,000 to Sand Hill
  455                                       LLC, dated 09.26.2019

                            Signature Bank ACH Transaction re $75,000 to Sand Hill
  456                                       LLC, dated 09.30.2019

                            Signature Bank ACH Transaction re $35,000 to Sand Hill
  457                                       LLC, dated 10.10.2019




                                                                                     21
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                     filed 02/02/24      USDC Colorado   pg
                                                                         22 of 62


Exhibit   Witness                                                                            Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                 Only
                                               Brief Description

                             Signature Bank ACH Transaction re $23,750 to Global
  458                                   Fuel Logistics, dated 10.30.2019

                            Signature Bank ACH Transaction re $25,000 to Sand Hill
  459                                        LLC, dated 11.18.2019

                             Signature Bank ACH Transaction re $17,900 to Global
  460                                   Fuel Logistics, dated 11.21.2019

                             Signature Bank ACH Transaction re $42,000 to Global
  461                                   Fuel Logistics, dated 11.27.2019

                             Signature Bank ACH Transaction re $26,500 to Global
  462                                   Fuel Logistics, dated 12.05.2019

                             Signature Bank ACH Transaction re $51,150 to Global
  463                                   Fuel Logistics, dated 12.09.2019

                              Signature Bank ACH Transaction re $7,800 to Global
  464                                   Fuel Logistics, dated 12.16.2019

                             Signature Bank ACH Transaction re $33,300 to Global
  465                                   Fuel Logistics, dated 12.17.2019

                             Signature Bank ACH Transaction re $14,350 to Global
  466                                   Fuel Logistics, dated 12.19.2019

                             Signature Bank ACH Transaction re $55,500 to Global
  467                                   Fuel Logistics, dated 12.26.2019

                             Signature Bank ACH Transaction re $77,500 to Global
  468                                   Fuel Logistics, dated 12.30.2019

                               Wells Fargo Bank Wire Transaction Report re Acct
  469                                 x6934 $20,611.01, dated 11.01.2019

                              Navy Federal Credit Union Surveillance Photo, dated
  470                                              06.23.2020



  471                       Spreadsheet of Digital Mint Transaction Details, Part One




                                                                                        22
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                        23 of 62


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description

                             Spreadsheet of Digital Mint Transaction Details, Part
  472                                                Two



  473                          American Express Application re Michael Tew



  474                         American Express Application re Kimberley Tew

                             Digital Mint Surveillance Photo 03.07.2020 00:33:01
  475                                                UTC

                             Digital Mint Surveillance Photo 03.07.2020 00:29:36
  476                                                UTC

                             Digital Mint Surveillance Photo 04.30.2020 21:51:39
  477                                                UTC

                             Digital Mint Surveillance Photo 04.30.2020 21:53:34
  478                                                UTC

                             Digital Mint Surveillance Photo 04.30.2020 21:55:38
  479                                                UTC

                             Digital Mint Surveillance Photo 04.30.2020 21:58:08
  480                                                UTC

                             Digital Mint Surveillance Photo 04.30.2020 21:59:40
  481                                                UTC

                             Digital Mint Surveillance Photo 04.30.2020 23:43:54
  482                                                UTC

                             Digital Mint Surveillance Photo 04.30.2020 23:46:20
  483                                                UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:27:57
  484                                                UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:30:15
  485                                                UTC




                                                                                     23
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                 filed 02/02/24      USDC Colorado   pg
                                                                        24 of 62


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description

                             Digital Mint Surveillance Photo 06.23.2020 23:32:14
  486                                               UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:33:59
  487                                               UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:37:58
  488                                               UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:40:00
  489                                               UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:42:54
  490                                               UTC

                             Digital Mint Surveillance Photo 06.23.2020 23:44:58
  491                                               UTC

                             Signature Bank ACH Transaction re $68,400 to Global
  492                                  Fuel Logistics, dated 05.11.2020

                             Navy Federal Credit Union Surveillance Photo, dated
  493                                            04.30.2020

                                Flagstar Bank FIS Technology Centers Service
  494                          Organizations Report re 01.01.2020 to 09.30.2020


                                    ACH Spreadsheet from Regions Bank
  495

 496 -                                  INTENTIONALLY BLANK
  499
                             Kraken Account Opening and Verification Documents
  500                                        for Kimberley Tew

                             Kraken Account Opening and Verification Documents
  501                                          for Michael Tew


                               Coinbase profile image records for Michael Tew
  502




                                                                                   24
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                  filed 02/02/24      USDC Colorado   pg
                                                                        25 of 62


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description


                               Coinbase profile image records for Kimberley Tew
  503

                                Google Pay Customer Profile re kley@me.com
  504
                             McDonald Audi Purchase Documents re 2016 Audi A4
  505                                    VIN x2447, dated 10.03.2019

                             McDonald Audi Wire Transfer Records re $20,611.01
  506                            Incoming Money Transfer, dated 11.01.2019

                            Wynn Las Vegas Jackpot Report between 07.04.2019 and
  507                                            11.29.2019


                            Wynn Las Vegas 2019 Loss Summary, as of 07.16.2020
  508
                             Wynn Las Vegas Reservation Confirmation #23362412
                               for Kimberley Tew, 10.30.2019 arrival & 11.02.19
  509                                             departure

                            Wynn Las Vegas Reservation/Stay History for Kimberley
  510                                                Tew

                            Wynn Las Vegas Reservation/Stay History re: Kimberley
  511                        Ann Tew, arrival 09.01.2019 & departure 09.05.2019

                            GoDaddy Domain Information re Domain Name "Global
  512                                             Fuel.Co"

                                GoDaddy Domain Information re Domain Name
  513                                         "Sandhillrp.com"

                            AT&T Subscriber Information re phone number x1312,
  514                                           Michael Tew

                            AT&T Subscriber Information re phone number x7473,
  515                                           Michael Tew

                            AT&T Subscriber Information re phone number x2046,
  516                                        Kimberley Vertanen




                                                                                    25
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                         26 of 62


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description

                            AT&T Text Message History re phone numbers x2046 &
  517                                               x1312


                                    AT&T Records re phone number x1312
  518
                             Spreadsheet of Verizon Call Records re phone number
  519                                               x1709

                              Google Subscriber Information re [5530 JD] Email
  520                                  Recovery (chrisrncn@gmail.com)

                             Google Subscriber Information re [PM] email recovery
  521                                  (political.media.wdc@gmail.com)


                             Google Voice Record re Google Voice Number x0152
  522
                            Google Subscriber Information re vtleycap@gmail.com
  523                                   (recovery email kley@me.com)

                                       Google subscriber information re
  524                               meyersconsultinggroupinc@gmail.com


                                  IRS Form W-9 re [MM], dated 10.11.2018
  525
                            Colorado Secretary of State Statement of Foreign Entity
  526                            Authority re: Sand Hill LLC, filed 11.12.2018


                            Plea agreement as to Jonathan Yioulos, dated 11.18.2021
  527

                                 Audio of 7/15/2020 Proffer with Michael Tew
  528

                                 Audio of 7/28/2020 Proffer with Michael Tew
  529

                               Audio of 10/23/2020 Proffer with Kimberley Tew
  530

                             07.07.2020 Photograph of Yioulos Phone Contact ‘JB’
  531


                                                                                      26
                    Case No. 1:20-cr-00305-DDD                      Document 408-1                     filed 02/02/24      USDC Colorado   pg
                                                                          27 of 62


Exhibit   Witness                                                                             Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                  Only
                                                Brief Description


                                     Email re "RE: AMEX" on 07.16.2018
  532

                               Email re "FW: Scanned Document" on 07.31.2018
  533

                               Email re "RE: Wire - Michael Tew" on 08.02.2018
  534

                                   Email re "FW: MT AGMT" on 09.14.2018
  535
                                  Email re "FW: National Air Cargo Holdings
  536                                   Correspondence" on 09.17.2018

                              Invoice #79487 re: [MCG] Inc for $10,000.00, dated
  537                                              10.30.2018


                              Email re "RE: Michael Tew - AMEX" on 01.17.2019
  538
                            Email re "Invoices for June 2020" on 06.30.2020 (Global
                             Fuel Logistics Invoice #10222 for $17,955.50; & Aero
  539                         Maintenance Resources Invoice #9611 for $79,292)

                              Invoice #79466 re: [MCG] Inc for $30,000.00, dated
  540                                              10.12.2018

                              Invoice #79488 re: [MCG] Inc for $30,000.00, dated
  541                                              11.30.2018

                              Invoice #79489 re: [MCG] Inc for $30,000.00, dated
  542                                              11.30.2018

                              Invoice #79490 re: [MCG] Inc for $25,000.00, dated
  543                                              12.11.2018

                            Colorado Secretary of State Statement of Foreign Entity
  544                       Authority re: Global Fuel Logistics Inc., filed 07.11.2019

                            IRS assignment of Employment Identification Number re
  545                               Global Fuel Logistics, dated 07.09.2019




                                                                                         27
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                    filed 02/02/24      USDC Colorado   pg
                                                                         28 of 62


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                Only
                                               Brief Description

                            Wyoming Secretary of State Articles of Incorporation re
  546                             Global Fuel Logistics Inc, filed 07.09.2019

                            IRS Form SS-4 Application for Employer Identification
  547                                      Number re Sand Hill LLC

                             State of New York Department of State Certification of
                            Articles of Organization and Other Filings for Sand Hill
  548                                       LLC, dated 11.09.2018


                              Google Pay Customer Profile re kleytew@gmail.com
  549
                            IRS Form 1099 re SandHill Research Partners, tax years
  550                                         2015 through 2018

                             Audio of 07.29.2020 meeting with Michael Tew at Yeti
  551                                                store


                                   Email re "RE: MT AGMT" on 09.14.2018
  552
                            Email headers re email received by chrisrncn@gmail.com
  553                                            on 08.22.2018

                                  Spreadsheet of Apple account information re
  554                                           kley@me.com

                             Photograph re Search Warrant Executed on 07.31.2020
  555                                                 #1

                             Photograph re Search Warrant Executed on 07.31.2020
  556                                                 #2

                             Photograph re Search Warrant Executed on 07.31.2020
  557                                                 #3

                             Photograph re Search Warrant Executed on 07.31.2020
  558                                                 #4

                             Photograph re Search Warrant Executed on 07.31.2020
  559                                                 #5




                                                                                       28
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                         29 of 62


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description

                             Photograph re Search Warrant Executed on 07.31.2020
  560                                                 #6

                             Photograph re Search Warrant Executed on 07.31.2020
  561                                                 #7


                                            Wells Fargo Bank Bag
  562
                              2TB Seagate HDD Model ST20000DM001-1CH164
  563                                     Serial Number W241LEZM


                                    Photograph re Cellebrite Processing #1
  564

                                    Photograph re Cellebrite Processing #2
  565

                                    Photograph re Cellebrite Processing #3
  566

                                    Photograph re Cellebrite Processing #4
  567

                                                  Wipe Log
  568

                                          Hash List for Apple Return
  569

                                   Kraken Ledger - AA70N84GI5WBRUCHI
  570
                                Consulting A, Effective Date 02.08.2016, signed
  571                                             02.08.2016

                            Consulting Agreement, Effective Date 02.08.2016, signed
  572                                             02.10.2016

                            Consulting Agreement, Effective Date 05.01.2016, signed
  573                                             06.22.2016

                            Consulting Agreement, Effective Date 08.01.2016, signed
  574                                             08.23.2016



                                                                                      29
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                         30 of 62


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description

                            Consulting Agreement, Effective Date 11.01.2016, signed
  575                                             12.15.2016

                            Consulting Agreement, Effective Date 05.01.2017, signed
  576                                             05.01.2017

                            Text messages from H.S. to K.T. on 08.07.2018 12:43:34
  577                                  AM UTC and 02:47:20 PM UTC

                            Text messages from H.S. to K.T. on 08.07.2018 01:02:41
  578                                  AM UTC and 01:09:10 AM UTC


                                Text messages from H.S. to K.T. on 08.08.2018
  579

                                Text messages from H.S. to K.T. on 08.13.2018
  580

                                Text messages from H.S. to K.T. on 08.14.2018
  581

                                Text messages from H.S. to K.T. on 08.14.2018
  582

 583 -                                INTENTIONALLY LEFT BLANK
  599

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  600
                             Email re "ACH Invoice" on 08.07.2018 ([HS] Invoice
  601                                    dated 08.07.2018 for $15,000)


                               Text messages between M.T. and J.Y. 08.07.2018
  602
                            Email re "re ACH Invoice" on 08.08.2018 ([HS] Invoice
  603                                    dated 08.08.2018 for $15,000)


                               Text messages between M.T. and J.Y. 08.08.2018
  604

                               Text messages between M.T. and J.Y. 08.09.2018
  605



                                                                                      30
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                    filed 02/02/24      USDC Colorado   pg
                                                                         31 of 62


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                Only
                                               Brief Description


                               Text messages between M.T. and J.Y. 08.13.2018
  606
                             Email re "Invoices: Michael Tew ACH August 15" on
                             08.14.2018 (Sand Hill Invoice #49 for $10,000 & [HS]
  607                               Invoice dated 08.14.2018 for $20,000)


                              Text message between J.Y. and M.T on 08.10.2018
  608

                              Text message between J.Y. and M.T on 08.18.2018
  609

                              Text message between J.Y. and M.T on 08.21.2018
  610
                              Email re "Invoice (CORRECTED)" on 08.22.2018
  611                             ([5530 JD] Invoice #7321116 for $15,000)


                                 Email re "Wire Confirmation" on 08.22.2018
  612

                              Text messages between J.Y. and M.T on 08.22.2018
  613

                              Text messages between J.Y. and M.T on 08.23.2018
  614

                             Email re "re Invoice (CORRECTED)" on 08.23.2018
  615
                              Emails re "re Is there an invoice for this wire out of
  616                                      Holdings?" on 08.24.2018


                              Text messages between M.T. and JY. on 08.28.2018
  617

                                      Email re "Confirms" on 08.30.2018
  618

                              Text messages between J.Y. and K.T. on 08.30.2018
  619




                                                                                       31
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                 filed 02/02/24      USDC Colorado   pg
                                                                        32 of 62


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description


                              Text messages between J.Y. and M.T. on 08.30.2018
  620

                              Text messages between M.T. and J.Y. on 08.31.2018
  621

                              Text messages between M.T. and J.Y. on 09.01.2018
  622

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  623

                              Emails re "RE: Is there an invoice?" on 09.07.2018
  624

                              Text messages between M.T. and J.Y. on 09.07.2018
  625
                               Email re "FW: ACH INVOICE" on 09.07.2018 at
  626                                             03:13pm

                               Email re "FW: ACH INVOICE" on 09.07.2018 at
  627                                             03:14pm


                                Text messages from J.Y. to K.T. on 09.10.2018
  628
                            Email (NO SUBJECT) on 09.10.2018 ([5530 JD] Invoice
  629                       #7321118 for $15,000 & Invoice #7321117 for $15,000)


                                Emails re "RE: Scaife Invoices" on 09.10.2018
  630

                                Emails re "RE:" (NO SUBJECT) on 09.10.2018
  631

                                    Email re "Cancel ACH" on 09.10.2018
  632

                              Text messages between M.T. and J.Y. on 09.12.2018
  633

                                Text messages from J.Y. to K.T. on 09.12.2018
  634



                                                                                   32
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                        33 of 62


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description


                                Text messages from J.Y. to K.T. on 09.13.2018
  635

                             Text messages between M.T. and J.Y. on 09.13.2018
  636

                                Text messages from J.Y. to K.T. on 09.18.2018
  637
                             Email re "Invoice" on 09.18.2018 ([5530 JD] Invoice
  638                                      #7321119 for $15,000)


                                Text messages from J.Y. to K.T. on 09.18.2018
  639

                                Text messages from J.Y. to K.T. on 09.28.2018
  640

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  641
                            Email re "Consulting Invoice" on 09.28.2018 ([5530 JD]
  642                                   Invoice #7321120 for $15,000)

                                Email re "RE: Invoices needed - Holdings" on
  643                                            09.28.2018


                                        Email re "Jess" on 10.01.2018
  644

                                Text message from J.Y. to M.T. on 10.09.2018
  645

                                Text messages from J.Y. to K.T. on 10.25.2018
  646

                                    Email re "Fwd: Invoice" on 10.25.2018
  647

                              Text messages between J.Y. to M.T. on 10.25.2018
  648

                                    Email re "Oct Invoice" on 10.30.2018
  649



                                                                                     33
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                         34 of 62


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description


                              Text messages between J.Y. to M.T. on 10.30.2018
  650

                                Text messages from J.Y. to K.T. on 10.30.2018
  651

                              Text messages between J.Y. to M.T. on 10.31.2018
  652
                              Email re "is there an invoice for this payment out of
  653                                      holdings?" on 10.31.2018

                               Email re "RE: Michael Tew: Sand Hill, LLC" on
  654                                        11.05.2018 at 2:13pm

                               Email re "RE: Michael Tew: Sand Hill, LLC" on
  655                                     11.05.2018, time unknown

                            Text mess+C405ages sent from Kley (M.T.) to M.M. on
  656                                             11.06.2018


                                    Email re "[MCG] LLC" on 11.06.2018
  657

                                     Email re "RE: Invoice" on 11.09.2018
  658

                              Text messages between J.Y. to M.T. on 11.09.2018
  659

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  660
                             Email re "RE: Entity: Sand Hill, LLC - New York" on
  661                                             11.12.2018


                             Text messages between J.Y. and M.T. on 11.13.2018
  662

                             Text messages between J.Y. and M.T. on 11.15.2018
  663

                             Text messages between J.Y. and M.T. on 11.16.2018
  664



                                                                                      34
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                         35 of 62


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description


                             Text messages between J.Y. and M.T. on 11.19.2018
  665

                               Email re "RE: Invoice" on 11.19.2018 at 8:55pm
  666

                               Email re "RE: Invoice" on 11.19.2018 at 9:04pm
  667

                             Text messages between J.Y. and M.T. on 11.20.2018
  668
                               Text messages between Kley (M.T.) and M.M. on
  669                                             11.20.2018


                             Text messages between J.Y. and M.T. on 11.21.2018
  670

                             Text messages between J.Y. and M.T. on 11.23.2018
  671

                             Text messages between J.Y. and M.T. on 11.25.2018
  672

                             Text messages between J.Y. and M.T. on 11.26.2018
  673
                            Email re "RE: Invoice" on 11.26.2018 at 7:22pm ([5530
  674                                 JD] Invoice #7321122 for $30,000)


                               Email re "RE: Invoice" on 11.26.2018 at 4:22pm
  675

                             Text messages between J.Y. and M.T. on 11.27.2018
  676
                             Email re "RE: Cash Sheet - Holdings - what's this?" on
  677                                             11.28.2018


                                Text message from J.Y. to M.T. on 11.30.2018
  678

                                Text messages from J.Y. to K.T. on 12.01.2018
  679



                                                                                      35
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                  filed 02/02/24      USDC Colorado   pg
                                                                        36 of 62


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description

                             Email re "RE: Final Invoice" on 12.03.2018 ([MCG]
  680                                   Invoice #79489 for $30,000)


                             Text messages between J.Y. and M.T. on 12.04.2018
  681

                               Text messages from J.Y. to K.T. on 12.04.2018
  682
                              Email re "Missing Meyers invoices" on 12.04.2018
                            ([MCG] Invoice #79489 for $30,000 & Invoice #79488
  683                                           for $30,000)


                             Text messages between J.Y. and M.T. on 12.06.2018
  684

                               Text messages from J.Y. to K.T. on 12.06.2018
  685
                             Email re "Fwd: [PM], Inc. - Invoice for Services" on
  686                           12.07.2018 ([PM] Invoice #6516 for $21,250)


                             Text messages between J.Y. and M.T. on 12.07.2018
  687
                             Email re: "RE: [PM], Inc. - Invoice for Services" on
  688                                            12.07.2018


                             Text messages between J.Y. and M.T. on 12.06.2018
  689

                             Text messages between J.Y. and M.T. on 12.10.2018
  690

                            Email re "New Vendor - Paid on Friday" on 12.10.2018
  691
                             Email re "Re: Final Invoice" on 12.11.2018 ([MCG]
  692                                   Invoice #79490 for $25,000)


                             Text messages between J.Y. and M.T. on 12.11.2018
  693




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                    Case No. 1:20-cr-00305-DDD                    Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                        37 of 62


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description


                                     Email re "Meyers Inv" on 12.14.2018
  694

                             Text messages between J.Y. and M.T. on 12.18.2018
  695
                               Text messages between Kley (M.T.) and M.M. on
  696                                            12.18.2018


                             Text messages between J.Y. and M.T. on 12.19.2018
  697

                             Text messages between J.Y. and M.T. on 12.20.2018
  698
                              Email re "FW: INVOICES: MICHAEL TEW ACH
  699                                    AUGUST 15" on 12.20.2018

                              Email re "FW: [PM], Inc. - Invoice for Services" on
  700                            12.20.2018 ([PM] Invoice #6517 for $15,125)


                             Text messages between J.Y. and M.T. on 12.21.2018
  701

                             Text messages between J.Y. and M.T. on 01.07.2019
  702
                            Email re "Invoice from [PM], Inc." on 01.07.2019 ([PM]
  703                                   Invoice #6540 for $15,312.50)


                             Text messages between J.Y. and M.T. on 01.09.2019
  704

                             Text messages between J.Y. and M.T. on 01.10.2019
  705
                            Email re "Invoice from [PM], Inc." on 01.10.2019 ([PM]
  706                                    Invoice #6670 for $25,350)


                             Text messages between J.Y. and M.T. on 01.17.2019
  707

                                Text messages from J.Y. to K.T. on 01.17.2019
  708



                                                                                     37
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                        38 of 62


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description


                             Email re "FW: Invoice from [PM], Inc." on 01.17.2019
  709

                              Text messages between J.Y. and M.T. on 01.18.2019
  710
                            Email re "Invoice from [PM], Inc." on 01.18.2019 ([PM]
  711                                   Invoice #6712 for $27,562.50)


                              Text messages between J.Y. and M.T. on 01.23.2019
  712
                            Email re "Invoice from [PM], Inc." on 01.23.2019 ([PM]
  713                       Invoice #6714 for $21,000 & Invoice #6712 for $28,000)


                             Email re "FW: Invoice from [PM], Inc." on 01.25.2019
  714

                                Text messages from J.Y. to K.T. on 02.07.2019
  715
                            Email re "Invoice from [PM], Inc." on 02.07.2019 ([PM]
  716                                     Invoice #6775 for $15,250)


                              Text messages between J.Y. and M.T. on 02.19.2019
  717

                                Text messages from J.Y. to K.T. on 02.19.2019
  718
                            Email re "Invoice from [PM], Inc." on 02.19.2019 ([PM]
  719                                     Invoice #6786 for $15,250)


                             Email re "FW: Invoice from [PM], Inc." on 02.21.2019
  720

                              Text messages between J.Y. and M.T. on 02.24.2019
  721

                              Text messages between J.Y. and M.T. on 03.01.2019
  722
                            Email re "Invoice from [PM], Inc." on 03.04.2019 ([PM]
  723                                     Invoice #6804 for $37,800)



                                                                                     38
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                        39 of 62


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description

                                Text messages between Kley (M.T.) and K.T. on
  724                                            03.06.2019


                             Email re "FW: Invoice from [PM], Inc." on 03.07.2019
  725
                                Text messages between Kley (M.T.) and K.T. on
  726                                            03.14.2019

                            Email re "Invoice from [PM], Inc." on 03.14.2019 ([PM]
  727                                     Invoice #6881 for $31,500)


                             Email re "FW: Invoice from [PM], Inc." on 03.15.2019
  728
                                Text messages between Kley (M.T.) and K.T. on
  729                                            03.17.2019

                                Text messages between Kley (M.T.) and K.T. on
  730                                            03.18.2019


                              Text messages between J.Y. and M.T. on 03.18.2019
  731
                            Email re "Invoice from [PM], Inc." on 03.18.2019 ([PM]
  732                                     Invoice #6910 for $20,250)


                             Email re "FW: Invoice from [PM], Inc." on 03.19.2019
  733

                              Text messages between J.Y. and M.T. on 03.19.2019
  734
                                Text messages between Kley (M.T.) and K.T. on
  735                                            03.19.2019


                             Text messages between M.T. and K.T. on 03.28.2019
  736
                            Email re "Invoice from [PM], Inc." on 03.28.2019 ([PM]
  737                                     Invoice #6976 for $38,000)




                                                                                     39
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                  filed 02/02/24      USDC Colorado   pg
                                                                         40 of 62


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                               Brief Description


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  738
                                Text messages between Kley (M.T.) and K.T. on
  739                                             03.30.2019

                                Text messages between Kley (M.T.) and K.T. on
  740                                             04.03.2019


                              Text messages between J.Y. and M.T. on 04.03.2019
  741
                            Email re "Invoice from [PM], Inc." on 04.03.2019 ([PM]
  742                                     Invoice #6910 for $30,150)

                             Email re "FW: Invoice from [PM], Inc." on 04.04.2019
  743                                  ([PM] Invoice #7004 for 11,250)


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  744

                              Text messages between J.Y. and M.T. on 04.07.2019
  745
                                Text messages between Kley (M.T.) and K.T. on
  746                                             04.07.2019


                              Text messages between J.Y. and M.T. on 04.08.2019
  747
                            Email re "Invoice from [PM], Inc." on 04.08.2019 ([PM]
  748                                     Invoice #7101 for $37,500)


                              Email re "re Invoice from [PM], Inc." on 04.09.2019
  749

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  750

                             Text messages between M.T. and K.T. on 04.11.2019
  751

                            Text messages from Kley (M.T.) to M.M. on 04.12.2019
  752



                                                                                     40
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                        41 of 62


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description


                             Text messages between M.T. and K.T. on 04.12.2019
  753

                              Text messages between J.Y. and M.T. on 04.13.2019
  754

                             Text messages between M.T. and K.T. on 04.16.2019
  755

                             Text messages between M.T. and K.T. on 04.17.2019
  756

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  757
                                Text messages between M.T. and Kley (K.T.) on
  758                                            04.21.2019


                             Text messages between M.T. and K.T. on 04.22.2019
  759
                                Text messages between Kley (M.T.) and K.T. on
  760                                            04.23.2019


                                Text message from J.Y. to M.T. on 04.24.2019
  761

                             Text messages between M.T. and K.T. on 04.24.2019
  762

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  763
                            Email re "Invoice from [PM], Inc." on 04.29.2019 ([PM]
                               Invoice #7156 for $75,000 and Invoice #7158 for
  764                                             $39,780)


                             Email re "FW: Invoice from [PM]. Inc." on 04.29.2019
  765
                                Text messages between Kley (M.T.) and K.T. on
  766                                            04.30.2019




                                                                                     41
                    Case No. 1:20-cr-00305-DDD                   Document 408-1                filed 02/02/24      USDC Colorado   pg
                                                                       42 of 62


Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                          Only
                                             Brief Description


                             Text messages between M.T. and K.T. on 05.01.2019
  767

                             Text messages between M.T. and K.T. on 05.02.2019
  768

                             Text messages between M.T. and K.T. on 05.06.2019
  769

                             Text messages between J.Y. and M.T. on 05.07.2019
  770

                             Text messages between M.T. and K.T. on 05.08.2019
  771
                               Text messages between Kley (M.T.) and K.T. on
  772                                           05.09.2019

                               Text messages between Kley (M.T.) and K.T. on
  773                                           05.10.2019


                             Text messages between J.Y. and M.T. on 05.10.2019
  774

                             Text messages between J.Y. and M.T. on 05.15.2019
  775

                             Text messages between M.T. and K.T. on 05.20.2019
  776
                               Text messages between M.T. and Kley (K.T.) on
  777                                           05.21.2019

                               Text messages between M.T. and Kley (K.T.) on
  778                                           05.22.2019


                             Text messages between M.T. and K.T. on 05.27.2019
  779

                             Text messages between M.T. and K.T. on 05.28.2019
  780

                             Text messages between J.Y. and M.T. on 06.03.2019
  781



                                                                                 42
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                  filed 02/02/24      USDC Colorado   pg
                                                                        43 of 62


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description

                                Text messages between Kley (M.T.) and K.T. on
  782                                            06.03.2019


                                Email re "Journal Entry Testing" on 06.04.2019
  783

                             Text messages between M.T. and K.T. on 06.07.2019
  784

                             Text messages between M.T. and K.T. on 06.10.2019
  785

                              Text messages between J.Y. and M.T. on 06.12.2019
  786
                                Text messages between Kley (M.T.) and K.T. on
  787                                            06.12.2019


                              Text messages between J.Y. and M.T. on 06.13.2019
  788

                             Text messages between M.T. and K.T. on 06.13.2019
  789

                             Text messages between M.T. and K.T. on 06.18.2019
  790

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  791

                             Text messages between M.T. and K.T. on 06.24.2019
  792

                             Text messages between M.T. and K.T. on 06.25.2019
  793
                            Text messages between M.T. and K.T. on 06.26.2019 and
  794                                            06.27.2019


                              Text messages between J.Y. and M.T. on 06.26.2019
  795

                              Text messages between J.Y. and M.T. on 06.28.2019
  796



                                                                                    43
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                        44 of 62


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description


                             Text messages between M.T. and K.T. on 06.28.2019
  797

                             Text messages between M.T. and K.T. on 06.29.2019
  798

                                  Email re "RE: Please assist" on 07.11.2019
  799

                             Text messages between M.T. and K.T. on 07.02.2019
  800
                              Emails re "Invoice From [PM], Inc." on 07.03.2019
                             ([PM] Invoice #7201 for $40,000; Invoice #7263 for
                            $10,100; Invoice #7312 for $9,500; & Invoice #7322 for
  801                                              $30,000)


                             Text messages between M.T. and K.T. on 07.04.2019
  802

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  803

                             Text messages between M.T. and K.T. on 07.07.2019
  804

                             Text messages between M.T. and K.T. on 07.07.2019
  805

                             Text messages between J.Y. and M.T. on 07.08.2019
  806

                                  Emails re "Re: Please assist" on 07.08.2019
  807

                                  Emails re "Re: Please assist" on 07.09.2019
  808

                             Text messages between M.T. and K.T. on 07.09.2019
  809

                             Text messages between M.T. and K.T. on 07.11.2019
  810




                                                                                     44
                    Case No. 1:20-cr-00305-DDD                   Document 408-1                filed 02/02/24      USDC Colorado   pg
                                                                       45 of 62


Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                          Only
                                             Brief Description


                             Text messages between M.T. and K.T. on 07.17.2019
  811

                             Text messages between M.T. and K.T. on 07.18.2019
  812

                             Text messages between J.Y. and M.T. on 07.19.2019
  813

                             Text messages between J.Y. and M.T. on 07.22.2019
  814

                             Text messages between M.T. and K.T. on 07.29.2019
  815

                             Text messages between J.Y. and M.T. on 07.30.2019
  816

                             Text messages between J.Y. and M.T. on 08.01.2019
  817

                             Text messages between J.Y. and M.T. on 08.03.2019
  818

                             Text messages between M.T. and K.T. on 08.04.2019
  819

                             Text messages between J.Y. and M.T. on 08.05.2019
  820

                             Text messages between M.T. and K.T. on 08.05.2019
  821

                             Text messages between M.T. and K.T. on 08.06.2019
  822

                             Text messages between J.Y. and M.T. on 08.06.2019
  823

                             Text messages between M.T. and K.T. on 08.11.2019
  824

                             Text messages between M.T. and K.T. on 08.13.2019
  825




                                                                                 45
                    Case No. 1:20-cr-00305-DDD                   Document 408-1                filed 02/02/24      USDC Colorado   pg
                                                                       46 of 62


Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                          Only
                                             Brief Description


                             Text messages between J.Y. and M.T. on 08.13.2019
  826

                             Text messages between J.Y. and M.T. on 08.14.2019
  827

                             Text messages between J.Y. and M.T. on 08.15.2019
  828

                             Text messages between M.T. and K.T. on 08.18.2019
  829

                             Text messages between J.Y. and M.T. on 08.19.2019
  830

                             Text messages between J.Y. and M.T. on 08.20.2019
  831

                             Text messages between J.Y. and M.T. on 08.21.2019
  832

                             Text messages between J.Y. and M.T. on 08.22.2019
  833

                             Text messages between M.T. and K.T. on 08.22.2019
  834

                             Text messages between M.T. and K.T. on 08.23.2019
  835

                             Text messages between M.T. and K.T. on 08.25.2019
  836

                             Text messages between J.Y. and M.T. on 08.26.2019
  837

                             Text messages between M.T. and K.T. on 08.26.2019
  838

                             Text messages between M.T. and K.T. on 08.27.2019
  839

                             Text messages between M.T. and K.T. on 08.28.2019
  840




                                                                                 46
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                         47 of 62


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description

                             Email re "Invoices from Global Fuel Logistics, Inc" on
                              08.28.2019 (Global Fuel Logistics Invoice #987 for
                             #9,500; Invoice #972 for $94,500; & Invoice #763 for
  841                                              $152,000)


                             Text messages between M.T. and K.T. on 08.29.2019
  842

                                   Emails re "RE: 8/29 Wires" on 08.29.2019
  843
                            Email re "Global Fuel - Updated Invoice" on 08.29.2019
  844                          (Global Fuel Logistics Invoice #1001 for $55,000)

                             Email re "Invoices from Global Fuel Logistics, Inc" on
                              08.29.2019 (Global Fuel Logistics Invoice #1023 for
                            $45,000; Invoice #1011 for $45,000; & Invoice #1001 for
  845                                              $56,000)


                             Text messages between M.T. and K.T. on 08.30.2019
  846

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  847

                             Text messages between M.T. and K.T. on 09.06.2019
  848

                             Text messages between M.T. and K.T. on 09.07.2019
  849

                             Text messages between M.T. and K.T. on 09.08.2019
  850

                              Text messages between J.Y. and M.T. on 09.09.2019
  851

                             Text messages between M.T. and K.T. on 09.09.2019
  852

                             Text messages between M.T. and K.T. on 09.10.2019
  853




                                                                                      47
                    Case No. 1:20-cr-00305-DDD                   Document 408-1                filed 02/02/24      USDC Colorado   pg
                                                                       48 of 62


Exhibit   Witness                                                                     Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                          Only
                                             Brief Description


                             Text messages between M.T. and K.T. on 09.13.2019
  854

                             Text messages between M.T. and K.T. on 09.14.2019
  855

                             Text messages between J.Y. and M.T. on 09.16.2019
  856

                             Text messages between J.Y. and M.T. on 09.17.2019
  857

                             Text messages between J.Y. and M.T. on 09.18.2019
  858

                             Text messages between M.T. and K.T. on 09.18.2019
  859

                             Text messages between M.T. and K.T. on 09.22.2019
  860

                             Text messages between M.T. and K.T. on 09.23.2019
  861

                             Text messages between J.Y. and M.T. on 09.25.2019
  862

                             Text messages between J.Y. and M.T. on 09.26.2019
  863

                             Text messages between M.T. and K.T. on 09.26.2019
  864

                             Text messages between J.Y. and M.T. on 09.27.2019
  865

                             Text messages between M.T. and K.T. on 09.28.2019
  866

                             Text messages between M.T. and K.T. on 09.30.2019
  867

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                    Case No. 1:20-cr-00305-DDD                    Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                        49 of 62


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description


                             Text messages between M.T. and K.T. on 10.02.2019
  869

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  870

                             Text messages between M.T. and K.T. on 10.05.2019
  871

                             Text messages between M.T. and K.T. on 10.07.2019
  872

                             Text messages between M.T. and K.T. on 10.08.2019
  873

                             Text messages between M.T. and K.T. on 10.09.2019
  874
                             Email re "Invoices from Aero Maintenance Resources"
                             on 10.11.2019 (Aero Maintenance Resources Invoice
                            #697 for $112,750; Invoice #634 for $75,000; & Invoice
  875                                        #627 for $141,450)


                             Text messages between M.T. and K.T. on 10.11.2019
  876

                             Text messages between M.T. and K.T. on 10.15.2019
  877

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  878

                             Text messages between M.T. and K.T. on 10.19.2019
  879

                             Text messages between M.T. and K.T. on 10.20.2019
  880

                             Text messages between M.T. and K.T. on 10.21.2019
  881

                             Text messages between M.T. and K.T. on 10.22.2019
  882




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                    Case No. 1:20-cr-00305-DDD                    Document 408-1                 filed 02/02/24      USDC Colorado   pg
                                                                        50 of 62


Exhibit   Witness                                                                       Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                            Only
                                              Brief Description


                             Text messages between M.T. and K.T. on 10.25.2019
  883

                             Text messages between M.T. and K.T. on 10.25.2019
  884

                             Text messages between M.T. and K.T. on 10.31.2019
  885

                             Text messages between M.T. and K.T. on 11.01.2019
  886
                             Email re "Invoices from Aero Maintenance Resources"
                             on 11.11.2019 (Aero Maintenance Resources Invoice
                              #1017 for $110,000; Invoice #1021 for $100,000; &
  887                                    Invoice #1103 for $66,750)


                             Text messages between M.T. and K.T. on 11.13.2019
  888

                             Text messages between M.T. and K.T. on 11.14.2019
  889

                             Text messages between M.T. and K.T. on 11.19.2019
  890

                             Text messages between M.T. and K.T. on 11.20.2019
  891

                             Text messages between M.T. and K.T. on 11.21.2019
  892

                             Text messages between M.T. and K.T. on 11.22.2019
  893

                             Text messages between M.T. and K.T. on 11.25.2019
  894

                             Text messages between M.T. and K.T. on 12.01.2019
  895

                             Text messages between M.T. and K.T. on 12.02.2019
  896




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                    Case No. 1:20-cr-00305-DDD                     Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                         51 of 62


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description


                             Text messages between M.T. and K.T. on 12.03.2019
  897

                             Text messages between M.T. and K.T. on 12.04.2019
  898

                             Text messages between M.T. and K.T. on 12.06.2019
  899

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  900

                             Text messages between M.T. and K.T. on 12.11.2019
  901

                             Text messages between M.T. and K.T. on 12.13.2019
  902
                             Email re "Invoices from Aero Maintenance Resources"
                              on 12.17.2019 (Aero Maintenance Resources Invoice
                            #2110 for $49,750; Invoice #2325 for $83,400; & Invoice
  903                                         #2392 for $85,250)


                             Text messages between M.T. and K.T. on 12.20.2019
  904

                             Text messages between M.T. and K.T. on 12.21.2019
  905

                             Text messages between M.T. and K.T. on 12.30.2019
  906

                             Text messages between M.T. and K.T. on 12.31.2019
  907

                             Text messages between M.T. and K.T. on 01.03.2020
  908

                             Text messages between M.T. and K.T. on 01.07.2020
  909

                             Text messages between M.T. and K.T. on 01.08.2020
  910




                                                                                      51
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                         52 of 62


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description


                             Text messages between M.T. and K.T. on 01.09.2020
  911
                             Email re "Invoices from Aero Maintenance Resources"
                              on 01.09.2020 (Aero Maintenance Resources Invoice
                            #2515 for $79,950; Invoice #2479 for $87,200; & Invoice
  912                                        #2601 for $148,200)


                             Text messages between M.T. and K.T. on 01.10.2020
  913

                             Text messages between M.T. and K.T. on 01.11.2020
  914

                             Text messages between M.T. and K.T. on 01.13.2020
  915

                             Text messages between M.T. and K.T. on 01.16.2020
  916

                             Text messages between M.T. and K.T. on 01.17.2020
  917

                             Text messages between M.T. and K.T. on 01.22.2020
  918

                             Text messages between M.T. and K.T. on 01.26.2020
  919

                             Text messages between M.T. and K.T. on 01.28.2020
  920

                             Text messages between M.T. and K.T. on 01.29.2020
  921

                             Text messages between M.T. and K.T. on 01.31.2020
  922

                             Text messages between M.T. and K.T. on 02.01.2020
  923

                             Text messages between M.T. and K.T. on 02.05.2020
  924




                                                                                      52
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                         53 of 62


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description


                             Text messages between M.T. and K.T. on 02.12.2020
  925

                             Text messages between M.T. and K.T. on 02.13.2020
  926

                             Text messages between M.T. and K.T. on 02.15.2020
  927
                             Email re "Invoices from Aero Maintenance Resources"
                              on 02.18.2020 (Aero Maintenance Resources Invoice
  928                          #2807 for $15,689; & Invoice #2753 for $99,211)


                             Text messages between M.T. and K.T. on 02.25.2020
  929

                             Text messages between M.T. and K.T. on 02.26.2020
  930

                             Text messages between M.T. and K.T. on 03.03.2020
  931

                             Text messages between M.T. and K.T. on 03.06.2020
  932
                             Email re "Invoices from Aero Maintenance Resources"
                              on 03.09.2020 (Aero Maintenance Resources Invoice
                            #3004 for $95,000; Invoice #2987 for $33,520; & Invoice
  933                                         #2901 for $90,180)


                             Text messages between M.T. and K.T. on 03.10.2020
  934
                            Email re "Aero Maintenance Invoices for February 2020"
                              on 03.11.2020 (Aero Maintenance Resources Invoice
  935                                         #2990 for $73,000)


                             Text messages between M.T. and K.T. on 03.11.2020
  936

                             Text messages between M.T. and K.T. on 03.17.2020
  937




                                                                                      53
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                  filed 02/02/24      USDC Colorado   pg
                                                                        54 of 62


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description


                             Text messages between M.T. and K.T. on 03.18.2020
  938

                                    Email re NO SUBJECT on 03.19.2020
  939

                             Text messages between M.T. and K.T. on 03.20.2020
  940

                             Text messages between M.T. and K.T. on 03.22.2020
  941

                             Text messages between M.T. and K.T. on 03.23.2020
  942

                             Text messages between M.T. and K.T. on 03.28.2020
  943

                             Text messages between M.T. and K.T. on 03.30.2020
  944

                             Text messages between M.T. and K.T. on 04.01.2020
  945

                             Text messages between M.T. and K.T. on 04.02.2020
  946

                             Text messages between M.T. and K.T. on 04.05.2020
  947

                             Text messages between M.T. and K.T. on 04.06.2020
  948

                             Text messages between M.T. and K.T. on 04.08.2020
  949
                            Email re "Invoices for Aero Maintenance Resources" on
                            04.14.2020 (Aero Maintenance Resources Invoice #4001
  950                            for $87,045; & Invoice #3176 for $127,155)


                             Text messages between M.T. and K.T. on 04.14.2020
  951




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                    Case No. 1:20-cr-00305-DDD                     Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                         55 of 62


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description

                            Email re "Aero Maintenance Invoices for April 2020" on
                            04.16.2020 (Aero Maintenance Resources Invoice #5120
  952                            for $105,603; & Invoice #4784 for $114,685)

                              Email re "Invoice for Global Fuel Logistics, Inc." on
                             04.27.2020 (Global Fuel Logistics Invoice #7988 for
  953                                              $124,785)

                             Email re "Invoice for Aero Maintenance Resources 2
                                March 2020" on 05.04.2020 (Aero Maintenance
  954                                Resources Invoice #3101 for $61,255)

                              Email re "Invoice for Global Fuel Logistics, Inc." on
                             05.11.2020 (Global Fuel Logistics Invoice #8011 for
  955                                               $83,090)


                             Text messages between M.T. and K.T. on 05.12.2020
  956

                             Text messages between M.T. and K.T. on 05.23.2020
  957

                             Text messages between M.T. and K.T. on 05.28.2020
  958
                            Email re "Invoices for May 2020" on 06.03.2020 (Aero
                             Maintenance Resources Invoice #8888 for $153,725;
                             Global Fuel Logistics Invoice #9014 for $159,882; &
  959                         Global Fuel Logistics Invoice #9071 for $164,065)


                             Text messages between M.T. and K.T. on 06.07.2020
  960

                             Text messages between M.T. and K.T. on 06.09.2020
  961

                             Text messages between M.T. and K.T. on 06.10.2020
  962

                             Text messages between M.T. and K.T. on 06.11.2020
  963




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                    Case No. 1:20-cr-00305-DDD                     Document 408-1                    filed 02/02/24      USDC Colorado   pg
                                                                         56 of 62


Exhibit   Witness                                                                           Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                Only
                                               Brief Description


                             Text messages between M.T. and K.T. on 06.16.2020
  964

                             Text messages between M.T. and K.T. on 06.17.2020
  965

                             Text messages between M.T. and K.T. on 06.24.2020
  966

                             Text messages between M.T. and K.T. on 06.25.2020
  967

                             Text messages between M.T. and K.T. on 06.26.2020
  968
                            Email re "Invoices for June 2020" on 06.30.2020 (Global
                              Fuel Logistics Invoice #10101 for $170,274.50; Aero
                             Maintenance Resources Invoice #9302 for $194,803; &
  969                         Global Fuel Logistics Invoice #11812 for $127,264)


                             Text messages between M.T. and K.T. on 06.29.2020
  970

                             Text messages between M.T. and K.T. on 07.01.2020
  971

                              Text messages between J.Y. and K.T. on 07.01.2020
  972
                            Email re "Invoice for July 1 2020" on 07.02.2020 (Global
  973                             Fuel Logistics Invoice #10226 for $95,000)

                             Audio recording of consensual phone call between J.Y.
  974                                       and M.T. on 07.07.2020

                             Audio recording of consensual phone call between J.Y.
  975                                       and M.T. on 07.08.2020


                              Text messages between J.Y. and M.T. on 07.08.2020
  976

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                                                                                       56
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                        57 of 62


Exhibit   Witness                                                                         Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                              Only
                                              Brief Description

                               Email re Kimberley Tew $10,000 Invoice, dated
  978                                            12.31.2018


                             Email re ACH Payment Questions, dated 04.17.2019
  979
                             Email re Lululemon Order Confirmation to Amy Tew,
  980                                         dated 11.04.2018

                             Email re Lilly Pulitzer Shipping Confirmation to Amy
  981                                       Tew, dated 10.18.2018

                            Email re Lilly Pulitzer Order Confirmation to Amy Tew,
  982                                         dated 10.17.2018

                            Email re Saks Fifth Avenue Order Confirmation to Amy
  983                                       Tew, dated 10.18.2018

                            Email re Zappos Order Confirmation to Amy Tew, dated
  984                                            11.03.2018

                               Email re Kimberley Tew Introduction & Contact
  985                                   Information, dated 01.30.2018

                             Invoice #001 re Kimberley Tew for $10,000.00, dated
  986                                            02.08.2018

                             Transcript of consensual phone call between J.Y. and
  987                                        M.T. on 07.07.2020

                             Transcript of consensual phone call between J.Y. and
  988                                        M.T. on 07.08.2020


                             Text messages between M.T. and K.T. on 08.28.2019
  989

                             Text messages between M.T. and K.T. on 09.18.2019
  990

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                                                                                     57
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                  filed 02/02/24      USDC Colorado   pg
                                                                        58 of 62


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description


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                                Account Owners and Signors for Relevant Bank
 1001
                                                  Accounts

                               Payments of Fraudulent Invoices by NAC between
 1002
                                         August 2018 and July 2020

                            Deposits of Fraudulent Invoices by NAC between August
 1003
                                             2018 and July 2020

                            Summary of [HS] CPA, [MCG], and [5530 JD] Invoices
 1004
                                                and Payments


 1005                              Summary of [PM] Invoices and Payments


                                Summary of Global Fuel Logistics Invoices and
 1006
                                                  Payments

                            Summary of Aero Maintenance Resources Invoices and
 1007                                             Payments


                                        Summary - Calendar of Events
 1008

                                            Summary - Count 42
 1009

                                            Summary - Count 43
 1010

                                            Summary - Count 44
 1011

                                            Summary - Count 45
 1012

                                            Summary - Count 46
 1013

                                            Summary - Count 47
 1014



                                                                                    58
                    Case No. 1:20-cr-00305-DDD                    Document 408-1                  filed 02/02/24      USDC Colorado   pg
                                                                        59 of 62


Exhibit   Witness                                                                        Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                             Only
                                              Brief Description


                                             Summary - Count 48
 1015

                                             Summary - Count 49
 1016

                                             Summary - Count 50
 1017

                                             Summary - Count 51
 1018

                                             Summary - Count 52
 1019

                                             Summary - Count 53
 1020

                                             Summary - Count 54
 1021

                                             Summary - Count 55
 1022

                                             Summary - Count 56
 1023

                               Summary - M. Tew Transactions and Photographs
 1024

                               Summary - K. Tew Transactions and Photographs
 1025

                            Summary - M. and K. Tew Transactions and Photographs
 1026

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  1099

 1100                         Certificate of Authenticity for Atlantic Union Bank


 1101                              Certificate of Authenticity for ANB Bank




                                                                                    59
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                     filed 02/02/24      USDC Colorado   pg
                                                                         60 of 62


Exhibit   Witness                                                                            Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                 Only
                                               Brief Description


 1102                              Certificate of Authenticity for ANB Bank


 1103                                 Certificate of Authenticity for BBVA


 1104                                 Certificate of Authenticity for BBVA


                            Certificate of Authenticity for Guaranty Bank and Trust
 1105
                                                   Company


 1106                                Certificate of Authenticity for Kraken


 1107                       Certificate of Authenticity for Navy Federal Credit Union


 1108                               Certificate of Authenticity for GoDaddy


 1109                                Certificate of Authenticity for Google


 1110                                Certificate of Authenticity for Verizon


 1111                             Certificate of Authenticity for Regions Bank


                                 Certificate of Authenticity for Simple Finance
 1112
                                               Technology Corp


 1113                            Certificate of Authenticity for Signature Bank


 1114                                Certificate of Authenticity for Google


 1115                                 Certificate of Authenticity for Apple


 1116                                Certificate of Authenticity for Google




                                                                                        60
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                     filed 02/02/24      USDC Colorado   pg
                                                                         61 of 62


Exhibit   Witness                                                                            Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                                 Only
                                               Brief Description


 1117                                Certificate of Authenticity for Google


 1118                                 Certificate of Authenticity for Vcorp


 1119                           Certificate of Authenticity for Wells Fargo Bank


 1120                           Certificate of Authenticity for Wells Fargo Bank


 1121                           Certificate of Authenticity for Wynn Las Vegas


 1122                                Certificate of Authenticity for Google


 1123                                Certificate of Authenticity for Google


 1124                                Certificate of Authenticity for Google


 1125                                Certificate of Authenticity for Google


 1126                                Certificate of Authenticity for Google


 1127                                 Certificate of Authenticity for AT&T


 1128                       Certificate of Authenticity for Navy Federal Credit Union


 1129                           Certificate of Authenticity for American Express


 1130                          Certificate of Authenticity for National Air Cargo


                              Certificate of Authenticity for McDonald Automotive
 1131
                                                     (Audi)




                                                                                        61
                    Case No. 1:20-cr-00305-DDD                     Document 408-1                   filed 02/02/24      USDC Colorado   pg
                                                                         62 of 62


Exhibit   Witness                                                                          Stipulation   Offered   Admitted   Refused        Court Use
                                                                                                                                               Only
                                               Brief Description


 1132                             Certificate of Authenticity for Digital Mint


 1133                             Certificate of Authenticity for Digital Mint


 1134                         Certification of Authenticity for National Air Cargo


 1135                        Certification of Authenticity for Access National Bank


 1136                              Certification of Authenticity for Coinbase


 1137                              Certification of Authenticity for Coinbase


 1138                              Certification of Authenticity for Coinbase


 1139                             Certification of Authenticity for Navy FCU


 1140                               Certification of Authenticity for Apple


 1141                                       Certification for Google


 1142                                   Certification for Signature Bank


 1143                                   Certification for Regions Bank




                                                                                      62
